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TN THE UNITED STATES DlSTRlCT COURT
WESTERN DISTRICT OF TENNESSEE

 

WAYMON G. STEWART AND
KATHRYN STEWART,

Plaintiffs,

VS.

No. 04-2179-DP

JURY DEMANDED

STRO`NG BUILT, INC., a Louisiana
Corporation, AND BASS PRO OUTDOOR
WORLD, L.L.C, d/b/a BASS PRO SHOPS
SPORTSMAN WAREHOUSE, a Missouri
Limited Liability Company,

Defendants.

 

SECOND AMENDED SCHEDULING ORDER

 

Pursuant to the Second Joint Motion of the parties to amend the Seheduling Order Whieh

was entered by this Court on June 29, 2004, and subsequently amended by Order of February 25,

2005, the Scheduling Order is hereby amended The Court shall establish the following dates:

1. Completing all discovery:
2. Expert Witness disclosures (Rule 26_):
a. Disclosure ofDefendant’s Rule 26 expert information
b. Expert Witness deposition:
c. Filing dispositive motions:
d. Complete mediation:

This document entered on the docket sheet in cor'§itance

With Ru!e 58 and/er 79[&) FRCP on __5'_\__|'_0.__.

July l, 2005

June 15, 2005
July l, 2005
July l, 2005

July l, 2005

 

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Absent good cause shown, the schedule dates set by this Order will not be modified or

Unit'<;d States Magistrate Judge

Date: S__/lZ/OJ/

extended

IT IS SO ORDERED.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02179 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

